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 4 Attorneys for Plaintiff
     GIOVANNI CAPITELLO
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 7
 8                           UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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                                        )
11 GIOVANNI CAPITELLO,                  ) Case No: 2:16-CV-03169-CAS-SS
                                        )
12                Plaintiff,            ) STIPULATION OF DISMISSAL
                                        ) [FRCP 41 (a)(1)]
13          vs.                         )
                                        )
14   COASTLINE RECOVERY                 )
     SERVICES, INC., and DOES 1 through )
15   10, inclusive,                     )
                                        )
16                Defendants.           )
                                        )
17                                      )
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Case 2:16-cv-03169-CAS-SS Document 21 Filed 04/04/17 Page 2 of 2 Page ID #:51




 1           TO THE CLERK OF THE COURT:
            PLEASE TAKE NOTICE THAT:
 2
 3          Pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure, it is hereby

 4   stipulated by and between Plaintiff Giovanni Capitello and Defendant Coastline

 5   Recovery Services, Inc., by and through their respective counsel of record, that this

 6   entire action is hereby dismissed with prejudice. Each side shall bear its own costs and
     attorneys’ fees.
 7
 8
 9
10   Dated: April 4, 2017                             Respectfully Submitted,
11
                                                      TRUEBLOOD LAW FIRM
12
13
14                                                    By:   ________/s/____________________
                                                            Alexander B. Trueblood
15
                                                      Attorneys for Plaintiff
16                                                    GIOVANNI CAPITELLO

17   Dated: April 4, 2017                             RINKA LAW FIRM
18
19
20                                                    By:   ________/s/____________________
                                                            Stephen Rinka
21
                                                      Attorneys for Defendant
22                                                    COASTLINE RECOVERY SERVICES,
                                                      INC.
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